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 1                                                                      The Honorable Marsha Pechman

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 6                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7                                            AT SEATTLE

 8
     UNITED STATES OF AMERICA,
 9
                       Plaintiff,                           Cause No. CR05-0182P
10
             vs.
11
     TONY L. TABUBA,                                        ORDER CONTINUING MOTIONS
12   KEITH LAMONT SIMS,                                     DEADLINE AND TRIAL DATE
     YVETTE RANEA BAILEY,
13   DOLLY ANN COOPER,
     MARK CARILLO,
14   ERIC McGOWAN, and
     CRYSTAL STAUDT,
15
                       Defendants.
16

17           The Court, having reviewed the records and files herein and considered the Motion to

18   Continue by Defendant McGowan, makes the following findings and enters the following order:

19           1.        Additional time is necessary for the Government and defendants to complete plea

20   negotiations or prepare for trial.

21           2.        The ends of justice outweigh the best interest of the public and the Defendants in

22   a speedy trial.

23

                                                                                          Gilbert H. Levy
                                                                                                  Attorney at Law
      Ord Cont Mots Deadline and Trial Date - 1                                                200 Market Place Two
                                                                                               2001 Western Avenue
      C:\DOCUME~1\ESCOLL~1\LOCALS~1\Temp\notes                                              Seattle, Washington 98121
      C7A056\~8476411.doc                                                               (206) 443-0670 Fax: (206) 448-2252
              Case 2:05-cr-00182-MJP              Document 87   Filed 07/14/05      Page 2 of 3




 1            IT IS HEREBY ORDERED that the trial date for Defendants Erick McGowan, Tony

 2   Tabuba, Keith Sims, Yvette Bailey, Dolly Cooper, Mark Carillo, and Crystal Staudt is continued

 3   from September 6, 2005, to September 13, 2005, with a motions deadline of July 28, 2005.

 4            IT IS FURTHER ORDERED that pursuant to Title 18, United States Code, Section

 5   3161(h), the period of time from the current trial date to the new trial date, for all Defendants, is

 6   excluded in the computation of time under the Speedy Trial Act as this is a reasonable period of

 7   delay.

 8            IT IS FURTHER ORDERED that counsel for all Defendants file a speedy trial waiver

 9   through September 13, 2005, if they have not already done so.

10            DONE this 12th day of July, 2005.

11

12                                                         /S/Marsha J. Pechman
                                                           Marsha J. Pechman
13                                                         U.S. District Judge

14   Presented by:

15   /S/ Gilbert H. Levy________
     Gilbert H. Levy, WSBA #4805
16   Attorney for Defendant Eric McGowan

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                                                                                           Gilbert H. Levy
                                                                                                   Attorney at Law
      Ord Cont Mots Deadline and Trial Date - 2                                                 200 Market Place Two
                                                                                                2001 Western Avenue
      C:\DOCUME~1\ESCOLL~1\LOCALS~1\Temp\notes                                               Seattle, Washington 98121
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             Case 2:05-cr-00182-MJP               Document 87    Filed 07/14/05       Page 3 of 3




 1                                        CERTIFICATE OF SERVICE

 2           I certify that on July 14, 2005, I caused to be electronically filed the forgoing document with

 3   the Clerk of Court using the CM/ECF system which will send notification of such filing to the

 4   attorney(s) of record.

 5

 6                                                    /S/ Gilbert H. Levy________________
                                                      Gilbert H. Levy WSBA# 4805
 7                                                    Attorney for Defendant Eric McGowan

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                                                                                            Gilbert H. Levy
                                                                                                    Attorney at Law
      Ord Cont Mots Deadline and Trial Date - 3                                                  200 Market Place Two
                                                                                                 2001 Western Avenue
      C:\DOCUME~1\ESCOLL~1\LOCALS~1\Temp\notes                                                Seattle, Washington 98121
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